 )LOO LQ WKLV LQIRUPDWLRQ WR LGHQWLI\ WKH FDVH
 'HEWRU     .LPEHUO\ $QQ &RQDKDQ

 'HEWRU 

  6SRXVH LI ILOLQJ

 8QLWHG 6WDWHV %DQNUXSWF\ &RXUW IRU WKH 0,''/( 'LVWULFW RI 3(116</9$1,$

 &DVH QXPEHU EN0-&

2IILFLDO )RUP 6
1RWLFH RI 0RUWJDJH 3D\PHQW &KDQJH                                                                                                                   
,I WKH GHEWRU¶V SODQ SURYLGHV IRU SD\PHQW RI SRVWSHWLWLRQ FRQWUDFWXDO LQVWDOOPHQWV RQ \RXU FODLP VHFXUHG E\ D VHFXULW\ LQWHUHVW LQ WKH GHEWRU¶V
SULQFLSDO UHVLGHQFH \RX PXVW XVH WKLV IRUP WR JLYH QRWLFH RI DQ\ FKDQJHV LQ WKH LQVWDOOPHQW SD\PHQW DPRXQW )LOH WKLV IRUP DV D VXSSOHPHQW WR
\RXU SURRI RI FODLP DW OHDVW  GD\V EHIRUH WKH QHZ SD\PHQW DPRXQW LV GXH 6HH %DQNUXSWF\ 5XOH 

1DPH RI FUHGLWRU 86 %$1. 75867 1$7,21$/                                       &RXUW FODLP QR LI NQRZQ  
$662&,$7,21 127 ,1 ,76 ,1',9,'8$/ &$3$&,7< %87
62/(/< $6 2:1(5 75867(( )25 5&$) $&48,6,7,21
75867
/DVW  GLJLWV RI DQ\ QXPEHU \RX XVH WR                                           'DWH RI SD\PHQW FKDQJH 
LGHQWLI\ WKH GHEWRU¶V DFFRXQW                                               0XVW EH DW OHDVW  GD\V DIWHU GDWH
                                                                                 RI WKLV QRWLFH

                                                                                 1HZ WRWDO SD\PHQW 
                                                                                 3ULQFLSDO LQWHUHVW DQG HVFURZ LI DQ\

 3DUW        (VFURZ $FFRXQW 3D\PHQW $GMXVWPHQW

       :LOO WKHUH EH D FKDQJH LQ WKH GHEWRU¶V HVFURZ DFFRXQW SD\PHQW"

         Ƒ 1R
         Ŷ <HV        $WWDFK D FRS\ RI WKH HVFURZ DFFRXQW VWDWHPHQW SUHSDUHG LQ D IRUP FRQVLVWHQW ZLWK DSSOLFDEOH QRQEDQNUXSWF\ ODZ 'HVFULEH
                       WKH EDVLV IRU WKH FKDQJH ,I D VWDWHPHQW LV QRW DWWDFKHG H[SODLQ ZK\
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         &XUUHQW HVFURZ SD\PHQW                            1HZ HVFURZ SD\PHQW 


 3DUW        0RUWJDJH 3D\PHQW $GMXVWPHQW

       :LOO WKH GHEWRU¶V SULQFLSDO DQG LQWHUHVW SD\PHQW FKDQJH EDVHG RQ DQ DGMXVWPHQW WR WKH LQWHUHVW UDWH RQ WKH GHEWRU V
          YDULDEOHUDWH DFFRXQW"

         Ŷ 1R
         Ƒ <HV       $WWDFK D FRS\ RI WKH UDWH FKDQJH QRWLFH SUHSDUHG LQ D IRUP FRQVLVWHQW ZLWK DSSOLFDEOH QRQEDQNUXSWF\ ODZ ,I D QRWLFH LV QRW DWWDFKHG
                        H[SODLQ ZK\
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         &XUUHQW LQWHUHVW UDWH                                  1HZ LQWHUHVW UDWH

         &XUUHQW SULQFLSDO DQG LQWHUHVW SD\PHQW         1HZ SULQFLSDO DQG LQWHUHVW SD\PHQW


 3DUW        2WKHU 3D\PHQW &KDQJH

       :LOO WKHUH EH D FKDQJH LQ WKH GHEWRU V PRUWJDJH SD\PHQW IRU D UHDVRQ QRW OLVWHG DERYH"

         Ŷ 1R
         Ƒ <HV        $WWDFK D FRS\ RI DQ\ GRFXPHQW GHVFULELQJ WKH EDVLV IRU WKH FKDQJH VXFK DV D UHSD\PHQW SODQ RU ORDQ PRGLILFDWLRQ DJUHHPHQW
                      &RXUW DSSURYDO PD\ EH UHTXLUHG EHIRUH WKH SD\PHQW FKDQJH FDQ WDNH HIIHFW

                      5HDVRQ IRU FKDQJH BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

         &XUUHQW PRUWJDJH SD\PHQW                         1HZ PRUWJDJH SD\PHQW




2IILFLDO )RUP 6                                1RWLFH RI 0RUWJDJH 3D\PHQW &KDQJH                                              SDJH 

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 'HEWRU  .LPEHUO\ $QQ &RQDKDQ                                               &DVH QXPEHU LI NQRZQ EN0-&
           3ULQW 1DPH        0LGG H 1DPH    /DVW 1DPH




 3DUW        6LJQ +HUH


 7KH SHUVRQ FRPSOHWLQJ WKLV 1RWLFH PXVW VLJQ LW 6LJQ DQG SULQW \RXU QDPH DQG \RXU WLWOH LI DQ\ DQG VWDWH \RXU DGGUHVV DQG
 WHOHSKRQH QXPEHU

 &KHFN WKH DSSURSULDWH ER[
      Ƒ , DP WKH FUHGLWRU
      Ŷ , DP WKH FUHGLWRU¶V DXWKRUL]HG DJHQW

 , GHFODUH XQGHU SHQDOW\ RI SHUMXU\ WKDW WKH LQIRUPDWLRQ SURYLGHG LQ WKLV FODLP LV WUXH DQG FRUUHFW WR WKH EHVW RI P\
 NQRZOHGJH LQIRUPDWLRQ DQG UHDVRQDEOH EHOLHI

     V   Michelle L. McGowan                      'DWH     8/5/2024
     6LJQDWXUH



  3ULQW                  Michelle L. McGowan                                                                     7L OH   $XWKRUL]HG $JHQW IRU &UHGLWRU
                        )LUVW 1DPH                      0LGGOH 1DPH          /DVW 1DPH


  &RPSDQ\               5REHUWVRQ $QVFKXW] 6FKQHLG &UDQH           3DUWQHUV 3//&

                        13010 Morris Rd., Suite 450
  $GGUHVV
                        1XPEHU             6WUHHW

                        Alpharetta, GA 30004
                                                                                 6WDWH       = 3 &RGH

  &RQWDFW 3KRQH                                                                                      (PDLO    mimcgowan@raslg.com




2IILFLDO )RUP 6                                     1RWLFH RI 0RUWJDJH 3D\PHQW &KDQJH                                                 SDJH 

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                                      &(57,),&$7( 2) 6(59,&(

               , +(5(%< &(57,)< WKDW RQ                August 6, 2024        , HOHFWURQLFDOO\ ILOHG WKH IRUHJRLQJ
ZLWK WKH &OHUN RI &RXUW XVLQJ WKH &0(&) V\VWHP DQG D WUXH DQG FRUUHFW FRS\ KDV EHHQ VHUYHG YLD 8QLWHG 6WDWHV
0DLO WR WKH IROORZLQJ

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$QG YLD HOHFWURQLF PDLO WR

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                                                 %\ V Alexis Rodriguez




2IILFLDO )RUP 6              1RWLFH RI 0RUWJDJH 3D\PHQW &KDQJH                         SDJH 

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                                                                        Telephone: (877) 735-3637
                                                                        Fax: (866) 926-5496
    P.O. Box 8619                                                       www.seleneﬁnance.com

    Philadelphia, PA 19101-8619                                         Hours of Opera#on
                                                                        Monday through Thursday 8 00 am to 9:00 pm, CT; Friday 8:00
                                                                        am to 5 00 pm, CT



    MICHAEL I ASSAD
    Cibik Law, P.C
    1500 WALNUT ST STE 900
    Philadelphia PA 19102




    Re: Account Number:
        Mortgagor(s):   KIMBERLY CONAHAN

         Property Address: 103 EAST MEADOW STREET
                           SHAVERTOWN PA 18708




    Our records indicate the above referenced account has been impacted by a bankruptcy ﬁling. If a mortgagor has received a
    discharge in bankruptcy, Selene fully acknowledges that such mortgagor has no personal liability for the debt and is not
    a"emp#ng to collect the debt from that mortgagor personally. If the account is impacted by an ac#ve bankruptcy case,
    Selene fully acknowledges the automa#c stay and is not a"emp#ng to collect the debt. THIS NOTICE IS FOR INFORMATIONAL
    PURPOSES ONLY.




    Selene Finance LP is a debt collector attempting to collect a debt and any information obtained will be used for that
    purpose.
    Please note, however, that if you are in bankruptcy or received a bankruptcy discharge of this debt, this
    communication is not an attempt to collect the debt against you personally.

    For Servicemembers and their Dependents: The Federal Servicemembers Civil Relief Act and certain state laws
    provide important protections for you, including, under most circumstances, a proh bition on foreclosure during and
    twelve months after the servicemember’s active duty service. Selene will not foreclose on the property of a
    servicemember or his or her dependent during that time, except pursuant to a court order. You also may be entitled to
    other protections under these laws, including interest rate and fee relief. Please contact us to learn more about your
    rights.
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Case 5:23-bk-00117-MJC   Doc Filed 08/06/24 Entered 08/06/24 11:42:23   Desc
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  MICHAEL I ASSAD                                                                                                           Loan Number:
  Cibik Law, P.C
                                                                                               NEW PAYMENT EFFECTIVE DATE: September 01, 2024


                                              ESCROW ACCOUNT PROJECTIONS AND ACTIVITY HISTORY
   Table 1 shows a month by month es!mate of the ac!vity we an!cipate will occur in your escrow account over the next 12 months. This table shows
   the projected low balance point that is used to calculate an escrow surplus or shortage.
  TABLE 1 - ACCOUNT PROJECTIONS
                                                                   Payments       Disbursements         Current Projected Required Projected
  Month               Descrip on                                    Es mate             Es mate                   Balance            Balance             Diﬀerence
                                     Beginning Balance                                                           -$714.65           $626.01
  September 24                                                       $290.54                $0.00                -$424.11           $916.55             -$1,340.66
  October 24                                                         $290.54                $0.00                -$133.57          $1,207.09            -$1,340.66
  November 24         HOMEOWNERS I                                   $290.54              $762.00                -$605.03           $735.63             -$1,340.66
  December 24                                                        $290.54                $0.00                -$314.49          $1,026.17            -$1,340.66
  January 25                                                         $290.54                $0.00                 -$23.95          $1,316.71            -$1,340.66
  February 25                                                        $290.54                $0.00                 $266.59          $1,607.25            -$1,340.66
  March 25            CITY/1ST PAR                                   $290.54            $1,316.71                -$759.58           $581.08             -$1,340.66 **
  April 25                                                           $290.54                $0.00                -$469.04           $871.62             -$1,340.66
  May 25                                                             $290.54                $0.00                -$178.50          $1,162.16            -$1,340.66
  June 25                                                            $290.54                $0.00                 $112.04          $1,452.70            -$1,340.66
  July 25                                                            $290.54                $0.00                 $402.58          $1,743.24            -$1,340.66
  August 25           SCHOOL/ISD P                                   $290.54            $1,407.77                -$714.65           $626.01             -$1,340.66
  Totals                                                           $3,486.48            $3,486.48
   ** Low Balance used to determine escrow surplus or shortage.
   Federal law (RESPA) allows lenders to maintain a two month cushion in an escrow account. A lower cushion may be required under state law. The
   cushion helps minimize the amount your escrow account could be overdrawn if tax or insurance payments increase.
  Table 2 itemizes your actual escrow account transac!ons since your previous analysis statement or ini!al disclosure. Last year’s es!mates are next
  to the actual ac!vity. An asterisk (*) indicates a diﬀerence between the es!mated and actual payments and disbursements. The le#er 'E' beside an
  amount indicates that the payment or disbursement has not yet occurred, but is es!mated to occur as shown.
   TABLE 2 - ESCROW ACTIVITY HISTORY
                                                                     Payments                       Projected Disbursement          Projected Escrow     Actual Escrow
   Month           Descrip on                                     Es mate            Actual           Es mate          Actual                Balance           Balance
                   Beginning Balance                                                                                                           $0.00        -$6,993.78
   June 24                                                                         $321.46 *                                                                -$6,672.32
   July 24         HOMEOWNERS I                                                  $7,844.46 E                           $762.00 E                               $410.14
   August 24       SCHOOL/ISD P                                                    $282.98 E                         $1,407.77 E                              -$714.65
   Totals                                                           $0.00        $8,448.90               $0.00       $2,169.77
  If you have ques!ons about your escrow analysis statement please contact our Customer Service Department at (877) 735-3637.
  If you have an ac!ve bankruptcy or have received a bankruptcy discharge, we are sending this for informa!onal, legal, or compliance purposes only. We are not trying
  to collect against you personally. If you have ques!ons about this communica!on or your obliga!on to pay, please contact your a#orney.




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